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UNITED STATES DISTRICT COURT

DISTRICT OF MASSACHUSETTS

Paul Jones
Plaintiff 3
v. Civil Action No. 20-10800-FDS ° =
Bank of New York +4
Trustee for The Certificate Holders CWABS, Inc, <=
LW
Asset-Backed Certificate, Series 2004-7 =

NOTICE OF APPEAL

PLEASE TAKE NOTICE that the Plaintiff Paul Jones hereby appeal(s) to the First Circuit Court

Appeals from the Final order/judgment from Civil Action No. 20-10800-FDS, the date and order

entered on January 11, 2023, each and every part thereof.

Paul Jones /s/ Paul Jones January 17, 2023
572 Park Street

Stoughton, Ma 02072

Pj22765@gmail.com

617=939-5417

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CERTIFICATE OF SERVICE

I hereby certify that on January 17, 2023, a copy of the foregoing Notice of Appeal was filed by

and to the Clerks office in The Boston Federal Court, notice of this filing will be sent to the

following parties Electronically and by First Class Mail, Parties may also access this filing

through the Court's system.

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January 17, 2023
